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                                                                                       FILED
                                                                                 U.S. District Court
                                                                                 District of Kansas

                                                                                  APR -7 2021
                          IN UNITED ST ATES DISTRICT COUR~                   C l e ~ t r i c t Court
                             FOR THE DISTRICT OF KANSAS    y                 ~             Deputy Clerk
                                  (WI CHIT A DOCKET)

UNITED ST ATES OF AMERICA,                    )
                                              )       NO. 20-10022-01-JWB
                               Plaintiff,     )
                                              )
V.                                            )       PETITION TO ENTER PLEA
                                              )       OF GUILTY AND ORDER
                                              )       ENTERING PLEA
KYLE ELLERY,                                  )
                                              )       [Federal Rules of Criminal
                               Defendant.     )       Procedure, Rules 10 and 11]


       Defendant represents to the Court:

        (1)    My full true name is: Kyle Ellery. I am z.o years of age. I have gone to school
up to and including: I '2.°!-grade. I request that all proceedings against me be in my true name.

       (2)     I am represented by a lawyer, his name is: Steven D. Mank.

       (3) I received a copy of the Indictment before being called on to plead. I read the
Indictment and discussed it with my lawyer. I fully understand every charge made against me.

        (4) I told my lawyer all the facts and circumstances known to me about the charges made
against me in the Indictment. I believe that my lawyer is fully informed on all such matters.

        (5) I know that the Court must be satisfied that there is a factual basis for a plea of
"GUILTY" before my plea can be accepted. I represent to the Court that I did the following acts
in connection with the charges made against me in Count l of the Indictment. See paragraph two
of the plea agreement.

       (6) My lawyer has counseled and advised me on the nature of each charge, on all lesser
included charges, and on all possible defenses that I might have in this case.

        (7) I know that I have the right to plead "NOT GUILTY" to any offense charged against
me. If I plead "NOT GUILTY" I know the Constitution guarantees me (a) the right to a speedy
and public trial by a jury; (b) at that trial, and at all stages of the proceedings, the right to the
assistance of a lawyer; (c) the right to see and hear all witnesses called to testify against me, and
the right to cross-examine those witnesses; (d) the right to use the power and process of the
Court to compel the production of any evidence, including the attendance of any witnesses in my
favor; and (e) the right not to be compelled to incriminate myself by taking the witness stand;
and if I do not take the witness stand, no inference of guilt may be drawn from such failure.
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       (8) I know that if I plead "GUILTY," I am thereby waiving my right to a trial, and that
there will be no further trial of any kind, either before a Court or jury; and further, I realize the
Court may impose the same punishment as if I had pleaded "NOT GUILTY," stood trial, and
been convicted by ajury.

        (9) I know that if I plead "GUILTY," the Court will ask me questions about the offense
to which I have plead, and since I will be answering these questions under oath, on the record,
and in the presence of my lawyer, that my answers may later be used against me in a prosecution
for perjury or false statement.

       ( I 0) My lawyer informed me that the plea of "GUILTY" to Count 2 could subject me to a
maximum sentence of not more than thirty (30) years of imprisonment, a fine of up to
$250,000.00, a term of supervised release of up to life and not less than five (5) years, a $ I 00.00
mandatory special assessment, and a $5,000.00 Justice for Victims of Trafficking Act
assessment. The defendant further agrees to forfeit property to the United States, as agreed.

        I have also been informed that the Court may order me to make restitution in compliance
with 18 U.S.C. § 3663 and § 3664 or as a condition of supervision, if such is ordered under 18
U.S.C. § 3563, in addition to any other penalty provided by law. I further understand that if I
am pleading "GUILTY" to an offense which is subject to the Sentencing Reform Act, I cannot be
released on parole and, if imprisonment is ordered in my case, the sentence imposed by the Court
will be the sentence I serve less any good time credit if I earn it.

         ( 11) I know that in addition to any other penalty imposed, including any fine or
restitution order, the Court is required to impose a special monetary assessment in the amount of
$100.00 for each count in which the offense occurred after November 13, 1984. ($50.00 for a
felony, $25 .00 for a misdemeanor; if the defendant is other than an individual, the assessment is
$200.00 for a felony and $100.00 for a misdemeanor).

         The special monetary assessment is $ I 00.00 for each count in which the offense occurred
after April 24, 1996. (Not less than $100.00 for a felony, $25.00 for a misdemeanor; if the
defendant is other than an individual the assessment is not less than $400.00 for a felony and
$ I 00.00 for a misdemeanor). I UNDERSTAND THIS SPECIAL ASSESSMENT MUST BE
PAID AT THE TIME OF THE SENTENCING HEARING UNLESS THE COURT DIRECTS
OTHERWISE.

        ( 12) I understand that if my case involves drug trafficking or drug possession, the Court
may deny or suspend my eligibility to receive federal benefits pursuant to 21 U.S.C. § 862,
except for those specifically exempted. I understand that if this is my second or subsequent
conviction for possession of a controlled substance, the Court may order me to complete drug
treatment or community service as specified in the sentence as a condition for reinstatement of
benefits.


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        ( 13) I know that the Court may also order, in addition to the penalty imposed, that I give
reasonable notice and explanation of the conviction, in such fom1 as the Court may approve, to
the victims of the offense.

       ( 14) I have been advised and understand that if I am not a U.S. citizen; a conviction of a
criminal offense may result in deportation from the United States, exclusion from admission to
the United States, and/or denial of naturalization .

        ( 15) If I am on probation or parole in this or any other Court, I know that by pleading
guilty here, my probation or parole may be revoked and I may be required to serve time in that
case, which will be consecutive, that is, in addition to any sentence imposed upon me in this
case.

        ( 16) I declare that no officer or agent of any branch of government (federal, state, or
local) has promised, suggested, or predicted that I will receive a lighter sentence, or probation, or
any other form ofleniency if I plead "GUILTY."

       If anyone else, including my attorney, made such a promise, suggestion, or prediction, I
know that he had no authority to do so.

        I know that the sentence I will receive is solely a matter within the control of the Judge.
do understand that there is no limitation on the inforn1ation the Judge can consider at the time of
sentencing concerning my background, character, and conduct, provided the information is
reliable, 18 U .S.C. § 3661. I do understand that if I am subject to sentencing under the
Sentencing Reform Act and the Sentencing Guidelines issued by the United States Sentencing
Commission, a sentencing guideline range is established. The Judge may select a sentence from
within the guideline range unless my case presents unusual features which pennit the Judge to
depart or vary from the guidelines and impose a sentence either above or below the
recommended guideline range. In determining the guideline range, whether to vary, and the
sentence to impose, the Court may take into account all relevant criminal conduct, which may
include counts to which I have not pied guilty or been convicted and take into account
background characteristics, unless otherwise prohibited by law. I further understand that my
background characteristics including, but not limited to, the recency and frequency of my prior
criminal record, whether or not a substantial portion of my income resulted from criminal
conduct, my role in the offense, victim-related circumstances, and my acceptance of the
responsibility for the offense, may have a specific effect on the sentence.

        I hope to receive leniency, but I am prepared to accept any punishment permitted by law
which the Court sees fit to impose. However, I respectfully request the Court to consider, in
mitigation of punishment, that I have voluntarily entered a plea of guilty.

        ( 17) I understand that a U.S. Probation Officer will be assigned to conduct a thorough
presentence investigation to develop all relevant facts concerning my case unless the Court finds
that there is in the record sufficient information to enable the meaningful exercise of sentencing
authority pursuant to 18 U.S.C. § 3553. The report of the presentence investigation shall contain
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the factors set forth in Rule 32. These include the classification of the offense and of the
defendant under the categories established by the Sentencing Commission, the kinds of sentence
available to the Court, and the sentencing range the officer believes applicable. The report shall
include the history and characteristics of the defendant and such other information required by
the Court recognizing the factors set forth in paragraph ( 16) above.

      ( 18) My plea of guilty is the result of my plea agreement entered into between the
Government attorney, my attorney, and me.

         I fully understand that the Court is not bound by the terms of the plea agreement, and
may accept or reject said agreement. If the Court rejects the agreement, I also understand the
Court will not give me the opportunity to withdraw my plea of guilty, unless the plea agreement,
signed by all parties, is executed in accordance with Federal Rules of Criminal Procedure, Rule
l l(e)(l)(A) or Rule l l(c)(l)(C).

      ( 19) I believe that my lawyer did all that anyone could do to counsel and assist me, AND
I AM SATISFIED WITH THE ADVICE AND HELP HE HAS GIVEN ME.

       (20) I know that the Court will not permit anyone to plead "GUILTY" who maintains he
is innocent and, with that in mind, and because I am "GUILTY" and do not believe I am
innocent, I wish to plead "GUILTY" and respectfully request the Court to accept my plea of
"GUILTY" and to have the Clerk enter my plea of "GUILTY" as follows.

                       (PLEASE SEE ATTACHED PLEA AGREEMENT.)

       (21) My mind is clear, I am not under the influence of alcohol or drugs, and I am not
under a doctor's care. The only drugs, medicines or pills that I took within the past seven (7)
days are                                     NONE
                                       (If none, so state.)

        (22) I have never been confined in any institution for the treatment of mental illness. I
have never been adjudicated mentally incompetent. No psychiatrist, physician, or psychologist
has ever found me to be mentally ill. I know of no reason why my mental competence at the
time of the commission of the alleged offense( s), or at the present time, should be questioned.

         (23) I offer my plea of "GUILTY" freely and voluntarily, and further state that my plea
of guilty is not the result of any force or threats against me, or of any promises made to me other
than those noted in this petition. I further offer my plea of "GUILTY" with full understanding of
all the matters set forth in the Indictment and in this petition, and in the certificate of my attorney
which is attached to this petition.

        (24) I waive the reading of the Indictment in open court, and I request the Court enter my
plea of "GUILTY" as set forth in paragraph (20) of this Petition.




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        (25) I swear that I have read, understood, and discussed with my attorney, each and every
part of this Petition to Plead Guilty, and that the answers which appear in every part of this
Petition are true and correct.

       Signed and Sworn to by me in open court, in the presence of my attorney, this 'l~day of
 Aou"'       ,2021.


                                                    ~ le   l'if:£d~
       Subscribed and Sworn to before me this   14 day of     l\:t\H.     , 2021.




                                                            (Deputy Clerk)
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                               CERTIFICATE OF COUNSEL

         The undersigned, as lawyer and counselor for the Defendant, Kyle Ellery, hereby
certifies:

       (I) I have read and fully explained to Defendant the allegations contained m the
Indictment in this case.

        (2) To the best of my knowledge and belief, the statements, representations and
declarations made by Defendant in the foregoing Petition are in all respects accurate and true.

       (3) I explained the maximum penalty for each count to Defendant.

       (4) The plea of "GUILTY" offered by Defendant in paragraph (20) accords with my
understanding of the facts he related to me and is consistent with my advice to Defendant.

       (5) In my opinion, Defendant's waiver of reading of the Indictment in open court as
provided by Rule 10 is voluntarily and understandingly made, and I recommend to the Court that
the waiver be accepted.

        (6) In my opinion, the plea of "GUILTY" offered by Defendant in paragraph (20) of the
petition is voluntarily and understandingly made. I recommend that the Court accept the plea of
"GUILTY."

       (7) I have made no predictions or promises to Defendant concerning any sentence the
Court may award, except as noted in the space below: _ _ _ _ _ __ _ _ __ __ _ __
                                    NotJ.£


       (8) I further represent to the Court that Defendant's plea of "GUILTY" is the result of a
plea agreement. The terms of the agreement are set out in paragraph ( 18) of the Petition, and I
have informed Defendant that the Court is not bound by the terms of the agreement and that if
the Court rejects the agreement, the Court will not give him the opportunity to withdraw his plea
of "GUILTY," unless the plea agreement, signed by all parties, is executed in accordance with
Federal Rules of Criminal Procedure, Rule 1 l(e)(l)(A) or Rule 1 l(c)(l)(C).

        Signed by me in open court in the presence of Defendant above named and after full
discussion of the contents of this certificate with Defendant, this ']~day of ,\nu.,. , 2021.



                                                    Steven D. Mank, Attorney for Defendant




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                                             ORDER

       I find that the defendant is fully competent and capable of entering a plea of guilty; that

the defendant understands the charge(s); that the defendant's plea of guilty is being made freely,

voluntarily, and because he/she is guilty as charged; that the defendant's guilty plea is not the

result of ignorance, fear, inadvertence or coercion, and that it is made with full understanding of

the consequences; that the defendant's guilty plea is not the result of any promises (except those

specifically set forth in the plea agreement); and that there exists a factual basis for the plea as

relates to each essential element of the offense( s). Therefore, I accept the defendant's guilty

plea. I will defer my decision on whether to accept the plea agreement until after I have

reviewed the presentence report. If I sentence the defendant, the parties may assume that I have

accepted the plea agreement. A presentence investigation is ordered to be made.

       Done in open court this '7 1" day ofJf' r    j , 2021.



                                                                   OOMES
                                                            TED STATES DISTRICT JUDGE
